         Case 7:20-cv-00288 Document 39 Filed on 02/16/23 in TXSD Page 1 of 5
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                         IN THE UNITED STATES DISTRICT COURT                            February 16, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                  MCALLEN DIVISION

    UNITED STATES OF AMERICA,           §
            Plaintiff,                  §
                                        §
 v.                                     §   CIVIL ACTION NO. 7:20-cv-00288
                                        §         (LEAD CASE)
 1.487 ACRES OF LAND, MORE OR LESS,     §
 SITUATE IN STARR COUNTY, STATE OF §        TRACT RGV-RGC-6013
 TEXAS, SALVADOR GARCIA III, et al.,    §
           Defendants.                  §
______________________________________________________________________________

    UNITED STATES OF AMERICA,                        §
            Plaintiff,                               §
                                                     §
    v.                                               §      CIVIL ACTION NO. 7:21-cv-00022
                                                     §            (MEMBER CASE)
    2.450 ACRES OF LAND, MORE OR LESS,               §
    SITUATE IN STARR COUNTY, STATE OF                §      TRACT RGV-RGC-6014
    TEXAS, AMERICO ELOY GARCIA, et al.,              §
             Defendants.                             §

                                       FINAL JUDGMENT

          Before the Court is the Stipulation for Revestment and Motion for Final Judgment 1 entered

by Plaintiff, the United States of America (“United States”), and Defendants, Americo Eloy

Garcia, Salvador Garcia, III, and Maria Soledad Garcia (collectively, hereinafter “the Parties”), in

the above-styled consolidated condemnation action.

          The unresolved tracts in this case are 1.487 acres of land, more or less, located in Starr

County, Texas identified as Tract RGV-RGC-6013 in Lead Case: 7:20-cv-00288, and 2.450 acres

of land, more or less, located in Starr County, Texas identified as Tract RGV-RGC-6014 in

Member Case 7:21-cv-00022) (collectively, hereinafter, “Subject Property”). The interests taken




1
    Dkt. ___.


                                              Page 1 of 5
         Case 7:20-cv-00288 Document 39 Filed on 02/16/23 in TXSD Page 2 of 5




in Tracts RGV-RGC-6013 and RGV-RGC-6014 is specifically described in Schedules “C”, “D”,

and “E” of the Declarations of Taking. 2

           Pursuant to 40 U.S.C. § 3117, the United States may agree or stipulate to the revestment

of condemned property to resolve condemnation cases.

           On February 15, 2023, the Parties filed their Stipulation of Revestment, whereby the United

States and Defendants jointly stipulated and agreed that all right, title, and interest acquired by the

United States associated with or appurtenant to the Subject Property has been REVESTED in

Defendants Americo Eloy Garcia, Salvador Garcia, III, and Maria Soledad Garcia as it existed

immediately before the time of the filing of the Declarations of Taking and title vesting in the

United States. Defendants Americo Eloy Garcia, Salvador Garcia, III, and Maria Soledad Garcia

further accepted such REVESTMENT of the Subject Property.

           Accordingly, pursuant to the Stipulation entered by the United States and Defendants, it is

hereby ORDERED and ADJUDGED that the Subject Property—to wit: Tracts RGV-RGC-6013

and RGV-RGC-6014—have been REVESTED back to Defendants Americo Eloy Garcia,

Salvador Garcia, III, and Maria Soledad Garcia.

           It is further ORDERED and ADJUDGED that:

      A. The full and just compensation payable by the United States to Defendants Americo Eloy
         Garcia, Salvador Garcia, III, and Maria Soledad Garcia for the time that it held title as to
         the Subject Property shall be the sum of five hundred and 00/100 dollars ($500.00). This
         sum is in full satisfaction of any claims of whatsoever nature by Defendants Americo Eloy
         Garcia, Salvador Garcia, III, and Maria Soledad Garcia against the United States for the
         institution and prosecution of the above-captioned action. Defendants further agree to
         waive any and all claims for additional compensation of any nature against the United
         States arising from the United States’ acquisition of the Subject Property.

      B. Judgment shall be and is hereby entered against the United States in the amount of five
         hundred and 00/100 dollars ($500.00), along with any accrued interest, for the time that
         United States held title as to the Subject Property.


2
    See Dkt. No. 2-1 at 6-15 in Lead Case: 7:20-cv-00288; Dkt. No. 2-1 at 6-14 in Member Case: 7:21-cv-00022.


                                                     Page 2 of 5
     Case 7:20-cv-00288 Document 39 Filed on 02/16/23 in TXSD Page 3 of 5




   C. The United States’ estimate of just compensation remains on deposit in the Court’s
      Registry and the Court now ORDERS the Clerk of Court to DISBURSE the following
      sums, along with any accrued interest earned thereon while on deposit, payable as follows:

           •    The sum of $500.00, with any accrued interest earned thereon while on deposit,
                payable to “Jones, Galligan, Key & Lozano, L.L.P.,” counsel for Defendants
                Americo Eloy Garcia, Salvador Garcia, III, and Maria Soledad Garcia.

           •    The remaining sum of $84,214.00, with accrued interest, payable to “F&A Officer,
                USAED, Fort Worth,” with the check referencing “Tract Nos. RGV-RGC-6013 and
                6014.”

   D. Defendants Americo Eloy Garcia, Salvador Garcia, III, and Maria Soledad Garcia warrant
      that (a) they are the owners of the interest in the property taken in this proceeding on the
      respective dates of taking, (b) that they have the exclusive right to the compensation set
      forth herein, excepting the interests of party having liens, encumbrances of record, and
      unpaid taxes and assessments, if any, and (c) no other party is entitled to the same or any
      part thereof by reason of any unrecorded agreement.

   E. In the event that any other party is ultimately determined by a court of competent
      jurisdiction to have any right to receive compensation for the interests in the properties
      taken in this proceeding, Defendants Americo Eloy Garcia, Salvador Garcia, III, and Maria
      Soledad Garcia shall refund into the Registry of the Court the compensation distributed
      herein, or such part thereof as the Court may direct, with interest thereon at an annual rate
      provided in 40 U.S.C. § 3116 from the date of receipt of the respective deposit by
      Defendants Americo Eloy Garcia, Salvador Garcia, III, and Maria Soledad Garcia, to the
      date of repayment into the Registry of the Court.

   F. The Parties shall be responsible for their own legal fees, costs, and expenses, including
      attorneys’ fees, consultants’ fees, and any other expenses or costs.

   G. The Parties shall take no appeal from any rulings or judgment made by the Court in this
      action, and the Parties consent to the entry of all motions, orders, and judgments necessary
      to make this stipulated judgment.

   H. This order is binding on the heirs, trustees, executors, administrators, devisees, successors,
      assigns, agents, and representatives of Defendants.

       The United States is further ORDERED to record this Final Judgment and the Stipulation

of Revestment with the Official Records of Starr County, Texas so as to provide notice with county

deed records.

       This case is terminated, and the Clerk of the Court is instructed to close the case.




                                            Page 3 of 5
             Case 7:20-cv-00288 Document 39 Filed on 02/16/23 in TXSD Page 4 of 5




              SO ORDERED February 16, 2023, at McAllen, Texas.




                                                           Randy Crane
                                                           Chief United States District Judge




Jim Suchma
2/16/2023




                                             Page 4 of 5
Case 7:20-cv-00288 Document 39 Filed on 02/16/23 in TXSD Page 5 of 5
